Case 1:22-cv-03419-JPB

Document 115-12

Filed 12/08/23

Page 1 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 11-028952
INCIDENT REPORT
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= ES, PLEASE INDICATE THE TYPE OF DRUGIS) USED BY OFFENDER oe .
a . [EY §-Meriwe (CJ 7-Methamphetarine «TJ 8 Opium] 9 - Synthetic Maco. EE U-Usowen
2 REQUIRED DATA BELDS ‘ i - "
4 EEE an | CLEARED BY ARREST C] EXCEPTIONALLY CLEARED Cl UNFOUNDED. ATE-OF CLEARANCE [] set. [| RENAE
REPORTING OFFICER NUMBER APPROVING OFFICER NUMBER
T M PEARSON 2334

Plaintiff D.H. 0018:
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 2 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 14-028952
NARRATIVE
Okicer DiNarie. Date: Azprnatg Officer Titan: Bate:
Tite: INITIAL REPORT

ON 3-16-17 ATAPPROMIMATELY 19.30 HRS, WHILE WORKING IN AN UNDER COVER CAPACITY WITH THE DEKALB
COUNTY VICE UNIT WE CONDUCTED AN UNDER COVER PROSTITUTION OPERATION IN THE AREA OF —
LAWRENCEVILLE HWY AND 1-285. PCONTACTED AN UNKNOWN FEMALE KNOWN AS "KARP (SUSPECT), AFTER
VIEBING HER ESCORT AD ON BACKPAGE OOM. THE SUSPECT POSTED PHOTOS OF HERSELF AND DESCRIBED
HERSELF AS 601" ATTRACTIVE AND FREAKY. :

IN THE AD THE SUSPECT ALSO STATES THAT SHE IS IN THE AREA OF LAWRENCEVILLE HWY, AND L285. |
THEN PLACED A PHONE CALL TO THE NUMBER LISTED.IN THE AD. UPON SPEAKING WITH THE SUSPECT ON THE
PHONE | TOLO HER MY NAME WAS EJ AND ASKED HER IF SHE WAS AVAILABLE AND SHE STATED THAT SHE WAS.
THE SUSPECT THEN ASKED IF ENEED A HALF HOUR OR A FULL HOUR. | TOLD THE SUSPECT | NEEO AN HOUR, SHE
ADVISED THAT FOR A FULL HOUR OF SERVICE IT WOULD BE $120.00. 1 TOLD THE SUSPECT THAT WAS FINE AND
ASKED BER WHERE SHE WAS LOCATED. SKE THEN TOLD ME TO CALL HER BACK WHEN [WAS ON

LAWRENCEVILLE HieY, APPROXIMATELY 20 MINUTES PAST AND [CALLED THE SUSPECT BACK AND ADVISED HER!

WAS IN THE AREA OF LAWRENCEVILLE AND 1-285, SHE ADVISED SHE WAS IN THE SUPER 8 MOTEL IN ROOM 111.

L THEN PROCEEDED TO THE ROOM WHERE | MADE CONTACT IWITH A TALL WHITE FEMALE WHO ADVISED
SHE WAS KARL ONCE IN THE ROOM THE SUSPECT AND BEGAN TO TALK AND SHE AGAIN ADVISED IT WOULD BE -
$720.00 FOR A FULL HOUR OF SERVICE. | TOLD HER WOULDN'T NEED A FULL HOUR ANO SHE ADVISED IT WAS
280.00 FOR A HALF IAN HOUR OF SERVICE. [THEN ASKED HER WHAT DO) GET FOR A HALF HOUR. AND SHE
STATED EVERYTHING. | THEN PULLED OUT DEKALB COUNTY INVESTIGATIVE FUNDS FROM My POCKET AND
TOUNTED “OUT SEL 06. -

THE SUSPECT TOOK THE MONEY ARB BEGAN REMOVING HER CLOTHING: SHE ALSO PICKED uP A SMALL
BOTTLE OF KY. JELLY. THE PHONE IN THE ROOM BEGAN TO RING AND AT THIS TIME, | EXCUSED MYSELF TG THE
REST ROOM. | GAVE THE TAKE DOWN SIGNAL FOR OFFICERS TO COME IN AND PLACE THE SUSPECT UNDER
ARREST.

THE SUSPECT CONTINUED REMOVING HER CLOTHING AND A SHORT TIME LATER THERE WAS A LOUD
KNOCK ON THE DCOR. THE SUSPECT IMMEDIATELY JUMPED UP ANO BEGAN GETTING DRESSED | ASKEO HER IF
SHE WAS EXPECTING ANYONE AND SHE STATED NO.| THEN PRECEDED THE DOOR AND OBSERVED UNIFORM
OFFICERS STANDING OUTSIDE. .

L THEN OPENED THE DOOR AND THE SUSPECT IDENTIFIED HERSELF TO OFFICERS AS KARRIE LYNN.
SCOTT. SHE WAS TAKEN INTO CUSTODY WITHOUT INCIDENT AND TRANSPORTED TO DEKALB COUNTY JAIL.
LATER OBTAINED WARRANT# 1110478) FOR PROSTITUTION ON THE SUSPECT.

Plaintiff D.H. 0018:
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 3 of 54
DEKALB COUNTY POLICE DEPARTMENT. Case #:
GA0440200 11-145960
INCIDENT REPORT
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16-6-9 (4004) PROSTITUTION 16-6-9 1 004 COUNTY COUNTY
..j/8-10-25 (4803) GIVING FALSE NAME, ADDRESS, OR BIRTHDATE [1 H803 COUNTY COENTY
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“SUPER 8 MOTEL N .¥ cp 252
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Name (Last, Fint Midi): Monten: DOB. fae ce Rae ee
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{5 PD INVESTIGATION INDICATE THAT TH INCIDENT WAS DRUG RELATED? F py ves fe yo EL t-Ampbotomine. [ 2- Backs ET 3-Cocaine [7] 4-Hatesnogen Ch S-Heon
ae VES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER oS a /
& : : CI 6-Meina «9 [J 7-Methargéetamine «= [1] 8- Open’ [1] 9 -Syastheic Narco, «= J. U- Union
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a REQUIRED DATA FIELDS ey een BY ARREST Cl EXCEPTIONRLLY CLEARED [] UNFOUNDED pareor cLEARANCE 10-14-2011 [| sour HR wens
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REPORTING OFFICER NUMBER APPROVING OFFICER - NUMBER
E J BESS 3386

Plaintiff D.H. 0020:
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 4of 54

DEKALB COUNTY. POLICE DEPARTMENT Case #:
GA0440200 11-125960
NARRATIVE
Offer 1D-Name: ‘Date: agony Officer tome: Date:
ide: INITIAL REPORT

ON 10-14-2011 AT 1430 HRS, THE DEKALB COUNTY VICE UNIT CONDUCTED A PROSTITUTION STING AT 1600
CRESCENT CENTRE BLVD. (SUPER 8 MOTEL). DURING THAT TIME | CONTACTED A WOMAN KNOWN AS “LUCKY” BY
—. WERTISED HERSELF AS AN ESCORT ON THE SOCIAL WEBSITE KNOWN AS

DURING THE COU HE
Ma sf FOLD PTED.TO LE Pee

MINED ARREST WW ARRANTS ON AS.
ING A FALSE NAME TO OFFICERS QVARRANT

Plaintiff D.H.

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Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 5of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 PB-OF5315
INCIDENT REPORT
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26-6-9 (4004) PROSTITUTION 16-6-9 1 HO COUNTY COUNTY
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= Eremase Type: / "Weapon Type. Foseste: Stanger Te Stanger Rate Memated. Los Code:
“Buper B Motel N ¥ mI 261
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8 D0 INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? [] YES HNO CI t-Asghetarine [F 2-Ban: [1- 3-Cocaine «= £7] 4-Hatucinogen Ci 3-Hecm
3 VES, PLEASE INDICATE THE TYPE OF ORUG(S) USED BY OFFENDER Be - a ,
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iM JOHNSON 2483

Plaintiff D.H. 0027.
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 6 of 54
DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 13-075315
OTHER PERSONS
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COMPLAINANT. N/A
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Plaintiff D.H. 00271
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 7 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 43-O75315
NARRATIVE
‘Gihoer (iame- “Date: "Appeuseng Oltcer Dane Date.
Tite: INITIAL REPORT

On July 11, 2075 the DeKalb County View Unit conducted a prostitution operation at 1000 Crescent Center Boulevard Super 3
Motel) Tucker, Georgia, 30064 unincorsorated DeKalb County.

On the above date, st approximately 1700 hours while in an undercover canecity, | arrived atthe above location and made
contact with an unknown male who was posing as a woman. During this tens, the subject who wae later kentified as Tyrell
Christopher Hugley seked me if] was dating and flwasa police afficer. Mr Hugley then stated “if you are nota police officer
then letme grab you" and | stated “no”. Atthe same time, Mr Hugley atlempted to grab me between my lege ae | backed away
from him. | then stated to Mr. Hugley that] woe in rooni@207 at the above location..dia Mr Hugley ard | proceeded to walk
upstairs lowards the room, he offered to perkin oral sexcon me for $40.00,

Lipon arival at room $207, opened the door and Mr. Hugley began running away from the room once he saw Detective Nelme
#2651. Detective Nelms pursued Mr. Hugley and shorily placed him in custody.

Mr. Hugley wes later raneporied to the DeKalb County Jeil where he was charged with prostitution.

Mote: prior to making contact with Mr. Hugley. he and another aubect who wae later Wentiied as Matthew Hatchetl was seen
walking on Lawrenceville Highway waving dawn vehicles. Alec Mr. Hatchet was ister arrested for Laitering forsee.

Plaintiff D.H. 0027
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 8 of 54
DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 13-108563
INCIDENT REPORT
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On 16-6-9 (4004) PROSTITUTION 16-6-9 4004 g
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REPORTING OFFICER NUMBER APPROVING OFFICER HUMBER
i] BESS 2386

Plaintiff D.H. 0028:

Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 9 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 13-108563
NARRATIVE
Ohice Utlame Date: Approiny Chien Dame: Date:
Tile: INITIAL REPORT

On 1-23-2073 at approximately $730 hro. the Gekalb County Vice Unitoonducted an undercover operation at 1800 Creecent
Gentre Blvd | Super 3 Hotell in relerence to prostitution. During that time | called a women only known as “Secret” by phone

i ». The women had advertised herself ae an escorton the social website known as “weow backnage.com.” The
woman posted pictures of herselfan the advertisement partially dressed and posing in fewd positions. Gnoe | called the
woman, lasked her il could eee her today. The woman seid that! could, and that she was at the & Super 8 Katel on
Lawrenceville Hwy. near Interstate 385. The woman said, “Call me when you get here” | said, "Ok ° I then asked the women,
“what's the donation feast for service }?” The woman said, “He $50 for fiteen minutes, $700 for halfan hour end $750 for an

hour” | said, “Okay. Do f have to bring anything (condams, ete}?* The women said, "No baby, t have eversthing.” | said,
“Okay”

man eaid, Yeah. Thet’s
Phen handed the woman $1 : ved OK ZOU ye Fund. The wonten took
hand and placed do th land. The worn said.’ car Esaid.. “Okay, and

* The woman asked m

ane, she. gotup and got
where the
Besistence to come and | 3

eof the personal lubricant on her band an ed ip M3
rihen fet. Qo y p BEd gaton her! hen : fh, “Are you gure

OW. This is

cond called for sponded io
Ms. Dikera K.. hnson i wt a

for Ms. Johnson's arrest ie forthcoming.

Plaintiff D.H. 0028:
Case 1:22-cv-03419-JPB

Document 115-12

Filed 12/08/23

Page 10 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440700 ES<1 33884
INCIDENT REPORT
pecident Type: / “Poute nadent Code ‘Oieese dansdcion Arvest Junerioben
16-68-10 (4001) KEEPING A°PLACE OF PROSTITUTION 16-6-10° t 001 COUNTY COUNTY.
-[8-6-9 (4004) PROSTITUTION 16-6-9 1 HOO COUNTY C®OUNTY
PROSTITUTION 16-6-9 1 HOO4 COUNTY COUNTY
fh Brence Type: Weapon type: ” Fegesbler Shanger fo Stranger: Rate Metwvated bor Cade:
puper & MM ¥ 832
Pate Report lcsdent Stark. incident Ered: Incidert Location: .
22/12/2013 7 00 00 PM12/12/2013 8 30 00 PM12/12/2013 8 48 00 PM1600 Crescent Center BLVD) Tucker GA
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M JOHNSON 2183

Plaintiff D.H. 0029
Case 1:22-cv-03419-JPB

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DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 13-199882
OTHER PERSONS
evolement Type: Name {Last Fest Maddie}: Brrtker. SSN.
COMPLAINANT N/A
Adsbess Home #: Cal 5. Work
BOR Age: Sex: Race: Ethescay: Resaiant States: Hale Cedar! Eye Color: HOT: WOT:
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lnvolrement Types Name (Last, Fiect Middle: Monier. SSH
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Plaintiff D-H. 0029:
Case 1:22-cv-03419-JPB

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DEKALB COUN

TY POLICE DEPARTMENT

Case
GA0440200 13-133881
NARRATIVE
‘Ofer Inlame: Date: Approving Oficer IDitisine: Date:
Tide. SUPPLEMENTAL NARRATIVE

On Geacember 12, 2073 at 2040 hours, | responded to Super 8 Motel (room 7 13) at 1600 Crescent Centre Blvd. in order te

make an arrest for Detective M. Johnson #2783.

Mr, Ravier Thamas was taken into cusindy without incident for keeping 9 plane of prostitution (70-0-7D) and

prostikdion (16-6-0). Mr. Thomas wees transported in Dekalb County Jad,

Report by: K. Mobley 83139

Plaintiff D.H. 0029:
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 13 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 13-183881
NARRATIVE
Cicer Ooname: Bate: Appar Ober Iiftame. Date:
Vike: ENITIAL REPORT.

The investigation into the case of the state of Georgia versus MAVIER DEMTRIES THOMAS charged with prosttutian 16-0-9
revealed the following fects and events:

On December 12, 2013 the Dekalb County Vice Unit padicipated in a joint operation with the Georgia Bureau af Investigation,
Dekalb County Internet Crimes Againat Children Unit and the Tucker Precinct Net Team. This operation was in reference to
proshiution slong the Lawrenceville Highway condor in Tucker Geargia unincorporated DeKalb County.

At approximately 2075 hours, while in en undertever capacity, | drove my vehicle through the parking iot of the Super 8 Mote!
located at 1600 Crescent Center Boulevard which ie a known arma for prestituton: During this be, | obeercad an unknown
person who appeared in be o wornen standing partially outside ofroom #175 al the abouws location wearing lemale
undergarments (black panies, black neglges). Al the same time, the eublect who wae ister identlied as Ravier Dembties
Thomas seked me if] was ready to take cere of business Mating). The subject then stated that he charged $40.00 Jor his
service (sex)! then stated to the subject that! had to leave, and that! would meet with him in approximately 20 minutes.
AI2030 hours, lanived back atthe Super 8 Motel and knocked on mom door #773. Shorily aflerwards, Mr. Thomas appeared
atthe door and the Tucker Net Team entered the roont and placed Mr. Tharsas in custody:

Mr. Thomas was later rensported to the Dekalb aounty Jail where he wes charged willy prastitution,

Plaintiff D.H. 0029:
Case 1:22-cv-03419-JPB

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DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 13-139471
INCIDENT REPORT
tnoitant Pepe: Caucds ‘Jreident Code ‘DOiienge dunedeten fvrest danadstion
26-45 1 Same--For purpose of procuring others to engage in sexnal [1 NONE COUN PY
Sew
a Brchase Type: “Bsagen Type. Foreable: Bireeger Te Shanger: Hate Metvated. Loe Code:
“SUPER 8 HOTEL N ¥ a 244
Date Report — oka Sat eae Ee ~~ acidend Location:
12/29/2013 1 46 00 AM12/29/2033 12 09.00 AM2/29/2013 12:09 00 AMé00 CRESCENT CENTER BLVD 109 TUCKER GA
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Rikdexes Home & Work & Cathe Enwsk
‘VES Resident Statue: HoT. Wor, Har Gale Har Sie Hake Leng: Eye Cohe Ne State
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TOTAL NUMBER ARRESTED: aprestaTonnesmorrensescens: «vex [| | tee be
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£2 bid AVESTIGATION INDICATE THAT THES NCIDENT WAS ORUGRELATED?F py YES: fi NO CI t-Anphetenne CT 2~Bass E] 3-Coraine. 7] 4-Hoftucinogen C1 5 -Hercin
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5 - CC] 6-Maguee  [[] 7-Methamphetamine. [J 8-Cpien [1]. 9 - Srthetic Hareatic (C1 U-Untro
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REPORTING OFFICER NUMBER APPROVING OFFICER : NUMBER
Ww D MCLAWS 1813

Plaintiff D.H. 0029.
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 15 of 54
DEKALB COUNTY POLICE DEPARTMENT Case i.
GA0440200 13-139471
ADDITIONAL OFFENDERS
Naspe: Morker: . BOR: Age: Sex. Race: Ethranty:
WALTON, DEMETRIC MADRIGE M2975 38 M B
Ad@rese: / / Home Phone: Perk Phone: Ce Phone: Emad:
$9057 N REDAN CIK STONE MOUNTAIN GA 30€
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505 185 BROWN BROWN 040142662 GA
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wasmen: [| warrant: [_] arrest: [”] SUSPECT ARMED: U WEAPON eet EF rugs ED tectet 22 comiister
oD IWESTIGATICA INDICATE THAT THIS RODENT WAS ORUGRELATEDF 7 e617 Ho [] t-Arepbetamine [T] 2-Boskturate, IT] 3 Cocaine | [TJ 4 -Hattosinagen Ey 5 -Herein
VES, PLEASE IDSCATE THE TYPE OF ORUGIS) USED BY OFFENDER C1 6 Marie [O F-Mehanphetsnie CY @-Opias J 9-SyvheticNlonate’ 1] U- Unknown
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wenteo: [] warrant: [~]  arresr: [7] SUSPECT ARMED: WEAPON: trek EF pig O. stcosot Computer
piO INVESTIGATION ROGATE THAT TH9 NCIDENT WAS DRUGRELATED?. yes ag [1] t-Amphotomice [UJ 2~ Baste [A] 4: Cocaine (CY 4 Hefosinogen [7] 3- Heroin
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WANTED: LJ WARRANT: C] ARREST: TT SUSPECT ABMED: WEAPON: ued CI paws C) Aoctet [2 Computer
plo INVESTIGATION INDICATE THAT THS NCIDENT WAS ORUS-RELATED?IF 7-4 ves FF pg CI. 1-Aoes C2 Bate [1] 3-Cocaine [4+ Hatscinogen [J 9-Hesois
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER EJ] §-Maseana = [] 7-Methampheiscine CJ f-tpium «= C0 9-Syntnetictcoic «= EL]. -tekroun

Plaintiff D.H. 0029.
Case 1:22-cv-03419-JPB

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DEKALB COUNTY POLICE DEPARTMENT

Case

GA0440200 13-139471
OTHER PERSONS
invodvernerd Type: - Name (Last, First Madde): / Honker, SEN:
COMPLAINANT GATES CASSIETTA C
l Abrees Heme ®. Cae View ©
1138 OAKLAND LN SW ATLANTA GA 30310- ae
BOE: Age: Sex: Race Etsy: Reehdont Status: Har Cake Eye Color: HGT: WOT.
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SAMs:
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UNKNOWN OR NOT -STATEL
| dvclvement Type: Name tLast, Fret Midted: Morden, SSN:
WITNESS PARAMORE KENDALL BRYAN
| Akeress | : Home #. Kod Work #
3800 FLATSHOALS PKWY 22-D DECATUR GA 30034
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Donspaderc ExegtoynriSchant: Addbone: ‘Eropaiget Pham:
Beenberpent Type: ‘Nonve (Last, First Midge): Reeder SS
WITNESS JACKSON LESLIE SHERICE
Sabbess Home & Ved &: Work
3942 LAWRENCEVILLE HWY 215 TUCKER GA 30084: aa
OR: Age: Sex: Race: Eghnscty. Readoed Status: Hat Color: Eye Calor, HOE wor.
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iesolvenient Type: Name (Last, first Maite): Menber SSK:
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Plaintiff D.H. 0029
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 17 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GA0440200 43-139471
NARRATIVE
 Oiicer ioitame: Date: Agpeeg Obeer isan Date:
Tie: INITIAL REPORT

On the listed date and time. this officer, Lt. MLE. Knight and EMS unit 76, responded to the Super 8 hotel, room 109 in reference
to a rape call. Uoon my arrival | spoke tc suspect Gates who initially advieed the following:

Alapproximately 25:30 hours she receved @ knock an her hotel mom door. When she opened iL she advised thata black male
(FOG-S07 "tall with a stocky build and wearing a bleck shirt, black pants. bl ue hoodie and a baseball cup} identified himeelf
as law enforcementand showed her a picture 1D with the word “Shenf and with the possible pame of W. Dalton on ik She
sisted he did not identify which depariment he worked for The subject then ore Sduced a cell phone with a picture of a female on
itand acked her if she had seen the subject She then told him thai she had never sesn the persan before.

According Gates, the subject then entered the room and began flirting with her. She wenton te siete that he then began
touching her sexually and eventually had formed her to have sex with him. Gates advised that after the subject took off hie shirt
she saw that he hed s large tiatioo of a scorpion on his bicep: though ahe wean sure which arm the tatioo was.or.

Afterthe alleged rape, the suspectthen | leftthe loeation in a black Jeep Cherokee. Gotes stated thal witness Paramore (a iriend
ofhersi, wae coming back to the roam as the suepect wad leaving and wee able to gel the tag number for the vehicle - Georgia
fag Ed VINOSS. When i checked the tegon GCIC, twas found to be registered on 2 20048 Grand Gherokwe belonging to listed
suspect ivalton. The subject was found to have a similar name as whatwae described by Gates and & matched the physical
deacriptan she had gran.

Upon speaking to Gales and the giher. listed witnesses, this officer lef the nyorn oO montact GID (Det Menelee, Unit 770) of the
“ wy : fhen } relumed, Li Knight

in question ber _Apmording to Gates, the ‘elked saveral

: rper caller 1D: —, sd had: ge date at the room.
After meeting and having sex. the subject relused to pay he ove me geomelhi i
effect that he “work FEDS and didn't have to pay”. Gates: ihat when the subject left without paying, she
beoame angry and ted to get hie inte houble byomaking a false rape socussbon.

Witness Sato who is Ble s fiend of Gates; advised that ehe works ae 8 prowitule as well and thatthe male had done the same
thing & her within the lectweek. She further sisted that he ic often deen hanging around the S Super Sal night

Gates was cited for Gaunty Ordinance Loiiering for Sex (Citation SVOSTS440EN . Sot GA. Bell ofthe DeKalb County Sheriffs
Deparment was contacted by Li Knight for further investigation inte the poasibility that Wallen may be a shenifs depariment
eroipioyee: .

Plaintiff D.H. 0029"
Case 1:22-cv-03419-JPB

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DEKALB COUNTY POLICE DEPARTMENT Case #
GA0440200 14-036577
INCIDENT REPORT
Erostent Pype: Cows [eo Code Ofenor turesheton Arest Juneaictcet
16-6-9 (4004) PROSTITUTION 16-6-9 1 2004 COUNTY COUNTY
».(£6-6-20 (4001) KEEPING A PLACE OF PROSTITUTION 16-6-10 a HOOL COUNTY COUNTY
a REDE Type: Weapon Type: Frankie: Granger lo Svangen Hate Moiwated: Lee Code:
aper 3 Motel N ¥ ‘ 244
hate Report — beedent Start lodent ind incitert Localion . .
{16/2024 745 00 PM 4/16/2014 7 45 00 PM 4/16/3014.8 18 00 PM 1600 Crescent Center BLVD 211 Tucker GA
Hamie (Lasst, Firat Medede}: Monter DOB: Age: Bex Rees: ESsninity:
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‘fa39e Creek. Bend CIR Conley GA 30288-
SSR / Resident Siatua HOT: aor Hair Color: Har Stipe: Har Largs: Eye Cole OLE: Stabe
a RESIDENT 504 125 BLACK STRAIGHT MEDIUM BROWN ‘OS7556416 GA
Dreupatin’ Eenploper: Addeenx: Employer Phone:
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fet.16-6-10 (4001) KEEPING A PLACE OF PROSTITUTIC 4601 @) 16-6-9 (4004) PROSTITUTION 16-6-9 4004
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i REE eons eT CLEARED BY ARREST C] EXCEPTONALLY CLEARED [~] VAFOWNDED — pareor cLeaRaNce 04-16-2014 OR sour [| JuMENIE
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REPORTING OFFICER NUMBER. APPROVING OFFICER NUMBER
E MCCOWN 2722

Plaintiff D.H. 0031!
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 19 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #
GA0440200 14-036577
NARRATIVE
Ofcer Name: ‘Date: Rogrownng Officer ID Saree: Date:
Tite: INITIAL REPORT

On Wednesday, Apnl 16, 2074, the DeKalb County Police Departments View Unit conducted a police operation targeting
females that engage in acts of prostitution by advertiging escort services.on backpage com. Al aporoximately 7:45 PM, | saw
an advertisement hatwas posted by “Lorgion.” CLorsion” was later identified to be Ms. Suraillah Ameshia Tiepmn)

| called Ms. Clopton and told her that | wanted tc come and spend some time with her. She asked haw much time Iwanted
i apend wih her ard leald, thirty minutes, She said thatwould cost S60. | intd ber thai price wae okay with nie. and she said
thatshe wae in the Super & Motel on Lawranceville Highway. She told ps to call her when i wae exiting Interstate 255.

loalied Me. Clopton tweenty mimutes leterand told her ihal wee aboulto drive inip the parking Jot of the Super § Motel. She
told me to pull into the back of the motel and thalshe was in Room 277.

Approximately two suinutes lster | knocked on the deorio Room 2171 and Ms Clopton let me in. She snewered the door in a
tanktop.and abort, tight fiding shorts. We hugged each other. and Lelanted our arrangement. [iold her thet wanted thirty
nminuies, and she confirmed that thiry minutes would cost S80. laeked how much an hour woukd costand she card $860. She
said ninety minuies would coat $140, ,

l asked her fl could have “eo nuls" in thity minutes and abe said no. She said that i oould have Wve o nuls if] purchased
ninety minutes of her time. [Two Nuts” is slang tersinology for ejaculating twice) | Hs. Clentor that | anied te purchase
ihe ninety munutes if that wae the case. | counted aul 3140 from the Official Dekalb County Investigative Fund and placed ition
ihetable against the well et her direction,

bashed Ms. Clonton if] could have, “Everdhing” formy $140. She sand. i don't do anal (sen.” | eaid okay, and we eqreed
to have oral and vaginal sex. | alse noticed a oondom on the lable closest in the bathroom.

iwenttouse the bathroom and as | came out ofthe bathroom Ms Clopion was nude from the waisidown. She hugged me
and unbuckled my bell She pul her hands in my bower shorts and grabbed my penis. Lpemoved har hand and asked her to
dance. | eatonthe bed and she started to dance provocatively by shaking ber butt in my face, Ae she was doing thie the
DeKalb Counbe Vice Unit came inin the room and tack her ints custody.

Floom O11 was registered in Ms. Clopton when we checked in the motel office.. Ms. Mlopten wee arrested for Prostitubon
and Keeping 2 Place of Prostitution. warrant numbers 14-4/-005078 & 14-4-005979. Pictures arte attached io the report.

Plaintiff D.H. 003]
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 20 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #
GA0440200 14-D99473
INCIDENT REPORT
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oitering for Sex i aid COUNTY
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te Report: indent Sark lresdent Ered: taciderd Location: : . .
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REPORTING OFFICER NUMBER APPROVING OFFICER.- NUMBER
ff & SCHOFIELD 2876

Plaintiff D.H. 0034
Case 1:22-cv-03419-JPB Document115-12° Filed 12/08/23 Page 21 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #
GA0440200 14-099473
NARRATIVE
Officer (Name: Date. Apprnany Ofer atone. Date:
Fite: INITIAL REPORT

On the evening of October 1, 2074, The DeKalb County Vice Unit conducted o pandering operation at 1600 Crescent Center
Boulevard (Super 3 Hotel). i hile working in an undercover capacity, Detective TS Schoheld placed an adveriisement on a
backpage.com website. At approximately 1536 hours. | received = og! vis telephone fr inlephone number 4

pon answering the islephane, the unknown males you ome See sour i state: i
fasked the male.” ‘ihat's » your peme and where are you coming Ste yf :
addition, he wekedd, ’ "where are vou located?’ and advised he cor
Huy ard interstate 255." He stated, “Iwill be there shortly.” And then the telep oh Ae oe ail ended.

Ataporaximateby 1400 hours, | reserved another call fram the fore meneone glephorne number — Mike
stated, “| am getting off the exit, Where are you?” | responded, “lar in Super & Hotel Call me when vou arein the parking lot”
Shortly theraafier, Mike called back and stated 4 aein the parking int” ledvised the room number 716) and he wae knocking
on the hotel room door moments later.

Upon entering the hotel room, Loreeted Mike and gave hier a hug. | stated fo him, “Have = seat and make yourself
comfortable." He smiled and aat down on the bed near the hotel door. | gatdown on the adjacent bed and @sked. “How was
yourday?” He meenonded. “Tt had a long day just got off work” He alse sisted. “Tl wantie gel in and nut. wants quick beat
nut" replied, “Ok! | walked over and satdown next te him. He slated, “You are beautiful but! smreally nervous.” He alea —
asked.’ "Are you the police?" | responded. "No, why ere you the police?" He replied, "No. Ljustgot off work! have paint all over
me”

After conversing for awhile, Ke stated, "You emell gaod and look sc ated butl ani very nervous.” Headvised that this
wae his frst ime and he juet-didn’t feel ight. He then stood up and staled that he was going io leave. | stood up and gave hima
bug and he lef out the doar:

Sharily thereafter, Mike ister identifed ae (Mr. Montrell Carey) wae taken into custody without incident and taneported
| io Dekalb County Jail Intake. He wee lodeed under citation number (24707726) for the charge of Loitering For Sex.

Plaintiff D.H. 0034:
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 22 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #
GA0440200 14099572
INCIDENT REPORT
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16 -6-9 (4004) PROSTITUTION 16- 6-9 1 004 COUNTY COUNTY
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feofi/201s 700 60 PM 10/1/2014 7 00.00 PM 10/1/2014.8 00.00 PM 1600 Crescent Centre BLYD 316 Tucker GA
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Plaintiff D.H. 0034:
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 23 of 54

DEKALB COUNTY POLICE DEPARTMENT ‘Case #:
GA0440200 44-099572
NARRATIVE
 Ghicer (iName: Bate: Approwng Ofer IO Name. Date:
Tee INITIAL REPORT

Gn TMH 2014 atapproximately 1900 hrs. The Dekalb County Vice Unit conducted an undercover operation at 1600 Crescent
Centre Blvd, (Ruper § Motel). The operation was conducted in reference to cilizen complaints of proettution taking place in the
area. During that ime, | called a woman known as “Blossom” by phone . The worsen wae listed ona social
website knew ae we backpage.com. The women was sted under the “women seeking mar" eechon, stating thatshe
provides upecale service. The woman had pictures of herself displayed onthe ad partially dressed and posing in lewd positions.

Ones loslled the woman, ]asked her fl could see her today. The women said, “Yes. iim aveadable.” | seid, “Cool”
| The woman wenton saying, “De you wantan Guivell dcome to youl onan Inesll (You come to mey?" lead, “Duteall” The
woman said, “How much tive do you wantio anend?* | said, “Justen hour.” The wren seid, "Ok For an hour, te 100
idgllarsh” Laaid, “Ok that’s fine.” The woman said, "Text me (send a written message by phone) the address“leand, "Ok and.
did as the woman had asked” Alter a period of lime, | texted ‘the women back asking her iishe got the previous message. The:
woman said, “Yes. Tm anszy way. laeked the woman, “How long fare you going io bel? hm shout io goto the store to get
some protection.” The woman messaged me back aaying, “| got protection fcondome} already.” | eaid, “Gaol”

Sitters litle while longer ihe woman messaged me, Chere ere you?" Hold the women that was atthe Supers Hotel
if room € 316, The woman replied, ‘Tie pulling up new" | then went outede walling to see Ihe woman wes driving to the
jnestion, | then saw a gray Nissan Xterra (2003, Gy. Tag & BLA3588), occupied by a male diver and female font eeat
passenger drive around and park. Once the vehicle parked below pry room, the female psesenner oot out, and the vehicle
diove away. | noticed that the women was the same person pictured in the ad. The woman walked up in where [was, and |
aan, “Rloesom?’ She ssid, "Yea Thats me. and gave me a bug” | inwted the woman inside and asked her ia dose the door.
Theiworman came inside of the room and closed the door asl asked.

Grice the women came inside of ihe roor:, she saked me if she could ves the restroom. Held the woman that she
could, and ehe wentineide. Once the woman used the restroom, she came back out, with her dress up exposing her vagina.
The women then pulled her dress down and asid, “You want an hour, right?" | said, Yeah” The worsan said, “He 100 [dollars)
i then handed the ‘woman a #100 bil which WES derived from the > Official DelGib County inves tigative Fund. The woman took

gn vesid,’ 4 don’ do anal leoxd dont
. "The woah 1 said. “rou ean have

location to place thew woman under arrest for Prostitution, As I waited for ‘he Pol Hoe assislance that } had walled. thew woman: vont
on her knees and begun to try to enbutten my pants. ] then pulled away from the women, and walked towards the bathroom.
The police assistance that | had called, regponded te the location and pleced the woman into custody without incident The
woman kndwh as “Blossom” was identified as Ms. Lalisha M.Jack with & bidhdale of EE: OOS. Ms Jackwas then
iransported and lodged in the DeKalb County Jail without incident.) obtained an arrest warrant (Warrant # iw) 6003) on Ma.
dack for Prostitution. _.

Video af the incidentis available upon request.

Plaintiff D.H. 0035:
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DEKALB COUNTY ry BOLIC RT MENT Case @
Gabanooao 15-000303
INCIOENT REPORT
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Plaintiff D.H. 0069
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 25 of 54

DEKALB COUNTY POLICE DEPARTMENT Case #:
GAD440200 15-000503
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Plaintiff D.H. 0069
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Plaintiff D-H. 0069.
1:22-¢V¥:03419-JPB....... ocument.115-12.... Filed 12/08/23. Page 27 of 54

Sane ALB COUNTY POLICE DEPARTMENT Case #:
GA044G200 EAE
NARRATIVE .

Gas. Paspesnesg OE
Craig di 1/2/2013 G:51Ad PAL

Tes ENPTEAL REPORT

Hae Tee

On 20275. at approxirnately 1730 hours. myee!f and Officer SR. Bstchelder, ware on patrol vwilhin the parking fat of 1606
Cresce ent Center Bowevard, Super 8 Motel, when we observed a packed minivan with raulipte unatended children ingide. |
circled the build ane and setuines {9 the vehicle where ee sed my patel vehicle and made cantast with the vente inate i
i sf old female that th
slave des which roor

their mather en WES 5s takieg & shower in a ‘acer

Of BC8ne, ‘wentts ihe oie desk to inquire which roar & wBE , currently in cS

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ntis room S¢*) and made contact. with ee

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Upon Cicer Gil returcie

“Oo Nat Oisturb” sign hanging on the outs ide: dost handle, answered the door cor
some clothes on and inquired if there were any clher peogle in the matetrocm.
was inthe bathroom. | called out to the person in the restraom and told them to core oul Al thatpaini. a male, later identified
a exited the bathroom and was alex completely raked, lalso advised Ge to put hie chathes on. While
23, lobserved a condom wrapper faving on the nightstand closest te the door

ee cere dressed, they were so) nthe motel FOOT W au
was escoried outside to sneak with Officer Yaibra. lasked
slated she was only inside the mote! room for fifteen rieutes and that she had heen taking: a Sehe wer du an
fio be wet from the shower. | pointed to the condom werepper an the table and a3 ake
had really only been there for fifteen minutes.
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Plaintiff D-H. 0088
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Plaintiff D.H. 008:
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INCIDENT REPORT
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po 6-12 099) Pandering } fOO% COUNTY COUNTY
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Plaintiff D-H. 0086
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Plaintiff D.H. 0086:
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Plaintiff D.H. 0086!
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asked me “do vou wanitc seend $30 one gil”

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Plaintiff D.H. 00871
Case.1:22-cv-03419.JPB..._£_.Document.115.12._Filed.12/08/23.....Page 44 of 54
DEKALB COUNTY POLICE DEPARTMENT Case #
GAQ440 200 1S-O53141
INCIDENT REPORT
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16-10-23 (7399) impersonating a public officer or employee I AOC COUNTY
p- (6-10-24 (801) Obstructing or hindering law enforcement officers i 4801 COUNTY
% f6-11-36 (3314) Loltering or prowling { S314 COUN PY
ih Pras type ¥eseoon Type Persad! Sieesger Fo Grany Hae ise Cady
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$288 Reget leesiant Saert nesderd Led rater Locator
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Plaintiff D.H. 0068.

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Plaintiff D.H

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INTELAL REPORI

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Lawrenreuile 4

y STOO hours, North Certral Task Force waa conducting aurvedlance in te sree o
Motels in reference to prostitution. CHicer Craig Badge #3000 was under caver

the department bund ay COvE: ine. Officer Craig observed a Grey 2006 | Hur ier HS with GA Tag SP <S$330 4
hatels igoking around yolhout 4 bu upose Howes advised | by Ctice : zDe ter dantfied as
WHE absens #3 parking atthe Super 8 1600 Crescent Centre | i ltwas sieo advised thaltte suapectw
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carver reusoect wae very nervous and  kaptiooking down while | was ac: 2
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shirion the passenger aide sesithal had & patch with the words ‘Officer on the kx tk onde "a it
I requested the suspect in provide his vahd driver license ts which he furnbled ground ii his wallet (twas dung the furskieg
syound <cithe weillet that! observed a metal gald starb nonlvidentiied as @ shend type of badge} thal he kept
fsoking slwhile looking up almie. J asked the suspect he wre BES ice obiner or gorse land of sherit. The
suspectwas quick to respond sisting “Yas Sir, }warked 28 years wilh the Pulion County Sheni’s Deparment and lam recently
retired vel still past certified”. The suspect changed. his b body language very qackly and bea én staing thathe wes all about
work programs now and trying ip help aut pecsle. |

lasked the suspect whathe was doing in the area and he reeponded by 3 tating that he wen quel dre speing by ic seo a inend.)
louked atthe suenect and advised hirn that lwas aware ihat he came fram Super 8 B aed ihathe hed just came from a fersales
room that hes @ history for prosbtution. The quEpect looked back alrmeé in suronze steung thet he did nat know her thatwel and
that he just met hér recently. The suspect stated thet he met her on Lavista Road near the Kroger snd apparently gave her a
ride and just recently started to hang cut with her mostly to help her out Tasked the suspect if he knew her narne to which he
stated Jam not sure, fike f sand | jyust kind of mether. a

The suspect spontaneously uttered “] kind of figured she was that kind of girl but! did netrun any 28 this is a coramon ter
used i pace talk for checking @ cuspect on NCICion her after mesting with her The suspect continued ta talk stating “Cicer
to Officer, | promise man! did not have those inlentione nar did | pay that fertale for sex”. The suspect continued to ramble
stating | “|imean i have given her money and paid a few af her cell phone bills” if respanded to the suapect by stating thats a law
cell phone bile means thal you have known her iongerihen afew days sir. The suspect stated “ainght sir. whal can | Say excert
that! have had éex with her but money was not involved”.
advised the suspect that the vehicle did not come back ta hirn to whieh he sisted “Ves, i canies back io my ve fe Viski
lasked the suspect if his wile knew he was at Super 8 visiting or having sex wih thes fernale ir Room 2135 The
suspect stated “Cicer to Oficer. lam aciually in the process of getting divorce and | happen to run inte ths female and things
just happenee ladvined the suspect thal hie story iust was not adding up yet lhwas going to gree him @ warning for the ium
signal asked the susmectance again, "So you said, you worked wilh Fulton Qounty Shen's Depariment as an Offices right.
The suspect stated “Yes Sie, 28 years’. The suspect wee released atthe incidantlocation with a warring for the trafic vinlaton.

lreached oul to Sheriffs Department an June 3, 2075 3t spproximatehy 0890 hours to get fun er information

shoutthe suspect epoke with Captain Nevin U/alker whe edviged thathe has been withth @ Fulton Deunty
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suspent and thet tre euepect possibly has a Fulton County Badge on his person | ales spoke with Germeant wit sautol nlemal
Affairs who advised that he had no record shaw orked ot Fukon County Shen > Department.

bran 8 cnpainal backgraund an the suspect ng found thatthe suacect had been arresiedin, 7956 for
tnpersenaling an Officer. i obtained arrest warrants an the sugoec charging the suspectva th Ir “persanstng
A Public Officer 16-10-23 fvearrant #75-008614), Obstruction 26-70-24 Gearrant 5715-4-0066 15), and Lotering 79-71-39
fwarrant XXX-XX-XXXX 76). faige provided the DeKalb County Warrants Division he anginal capies af the warrants.

Plaintiff D.H. 0068’
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Plaintiff D.H. 0092
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Plaintiff D.H. 0092

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Qhhow IDiere: Gate: Agseowng O8eer itor: Bate:
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Tite: INITIAL REPORT

On 6110/2015 while working in an undercover capacity at 1600 Crescent Canter Blvd | Officer DeJarnette 43616 conducted
surveidlanoe in the rear ol ihe location between the hours of 1800-1730. \hile in the rear of the location | observed several
female corning and going fram room £109. | obaerved @ bleck male (ater idenbfied as Willie Pettway) exct the room and instruct
the women on which room to proceed to at the Knights Inn across the street, Mr. Petway appeared ia specifically direct the
women to mor 8100 at the Knights Inn. \hen the female that he directed over to the Knights Inn would enter the room another
female would emerge from room #100 and walk back over ts Mr. Pettway room at the Super 8. During my observation | notcad
that thare was a black male that would walk back and forth from room to room and also use a vehicle to ransport the females to
ihe rooms. This achvity is consistent al this hotel with prostitution.

Later that day sround 1730 Norh/Central Task Force and | conducted a knock and talk atroom 2109 at the Super 8. While
knoclang on the daor! could hear a female asking “who is if”. | responded “Dekalh County Police” | could hear several
individuals in the roam moving sraund. | then knocked again and the unknown female agked again “who is it”. ARer about 2
munutes Mr. Pettway came io the door, Mr. Pettway advised us to “come in”. Afier entering the room | was advised by the motel
manager that he wanted them. removed from the property. The manager said that there is ani extremely large amount of traffic
caming from the room and that they do not sllow that.

\hile in the room the two fernales that wers in there stated that did not have a roorn at the location and did notlive in the
area. Both females stated thal they did not really know Mr. Pettway and were just hanging out in his room. Both females
tetieved tvelr property and exited the motel. | than nolica the only praperty le8 in the molel was a small black leather bag. Me.
Patiway advised it did not belong t him and that he did not know wha it belong to. While in the room Lobserved a large bagey .
al green lealy substance on the bathroom sink in 3 tissue box. The substance appeared to be individually packaged for sales.
\hen | saw the substance asked if it belong to Mr. Pethvay and he nodded his head “yes*. | then retrieved the substance and
noticed that there were 5 while pills with the substance. The pills were identified as Xanax.

Mr. Petbway was then lodged in the Dekalb County Jail for VGCSA Possession with intent manjuans and VGCSA
possession Xanax. The substance was placed in the Dekelb County property room to be sent to the GBI for positve ID.

Plaintiff D.H. 0092
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Plaintiff D.H.

0085
Case 1:22-cv-03419-JPB Document115-12 Filed 12/08/23 Page 51 of 54

DEK ALG COUNTY POLICE OEPARTMENT Case &
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Plaintiff D.H. 0085
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Plaintiff D.H. 0085
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DEKALB COUNTY POLICE DEPARTMENT Case #
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Plaintiff D.H. 0086
